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 5   Attorneys for Defendant Kasi Talea Pohahau
 6
 7                                 UNITED STATES DISTRICT COURT
 8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                 )                     No. CR-06-00316-MHP
10                                             )
                             Plaintiff,        )                     SUBSTITUTION OF COUNSEL
11                                             )
                                               )
12   KASI POHAHAU, et al,                      )
                             Defendants.       )
13                                             )
     __________________________________________)
14
15
             Kasi Pohahau, the defendant in the above captioned case hereby substitutes Richard B.
16
     Mazer, as his attorney of record in the place of Ian Loveseth, Esq.
17
18   Dated: July 7, 2006                             Respectfully submitted,
19
                                                     /s/ Kasi Pohahu
20                                                   KASI POHAHAU                          ISTRIC
                                                                                      TES D      TC
21                                                                                  TA                     O
             I acknowledge the above substitution of attorneys.
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22                                                                                                           RT
     Dated: July 11, 2006                                                                           ERED
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                                                                          UNIT




23                                                   /s/ Ian Loveseth
                                                                          T I S S
                                                     IAN LOVESETH, ESQ. I
                                                                                                                    R NIA

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                                                                                                    on. Pat
                                                                                                   nH
                                                                          NO




25           I accept the above substitution of attorneys and hereby enter a general appearance
                                                                                        M a r i ly
                                                                                  Judge
                                                                                                                    FO
                                                                             RT




26   behalf of Mr. Pohahau in this case.
                                                                                                                LI




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27   Dated: July 7, 2006
                                                                                        N                       C
                                                     /s/ Richard B. Mazer                   D IS T IC T   OF
28                                                   RICHARD B. MAZER                             R

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                                       CERTIFICATE OF SERVICE
            I, the undersigned, certify:
 1          That I am over the age of eighteen years, and not a party to the within cause; I am
     employed in the City and County of San Francisco, State of California; my business address is
 2   99 Divisadero Street, San Francisco, California 94117.
            On this date I caused to be served on the interested parties hereto, a copy of:
 3
                                   SUBSTITUTION OF COUNSEL
 4
     (X)    By electronically transmitting or by placing a true copy thereof enclosed in a sealed
 5          envelope with postage thereon fully prepaid, in the United States Mail at San Francisco,
            California, addressed as set forth below;:
 6
           Stephen H. Jigger
 7         U.S. Attorney's Office
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 8         Box 36055                                     740 4th Street, Second Floor
           San Francisco, CA 94102                       Santa Rosa, CA 95404
 9         steve.jigger@usdoj.gov                        boisseaugc@msn.com

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 5
 6        I certify under penalty of perjury under the laws of the State of California that the foregoing
     is true and correct to the best of my knowledge, and that this Certificate has been executed on
 7   July 11, 2006, at San Francisco, California.
 8
 9
                                                                   /s/ Cherri Plainfield
10                                                                 CHERRI PLAINFIELD
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